                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 3:04CR104-W
                                             )
              vs.                            )       ORDER FOR DISMISSAL
                                             )
SONKARLEY LORENZO McCALL                     )


       Leave of Court is hereby granted for the dismissal of the Bill of Indictment against

Sonkarley Lorenzo McCall only in the above-captioned case without prejudice.

       The Clerk is directed to certify copies of this Order to the United States Probation Office,

United States Marshal Service and the United States Attorney's Office.

                                                 Signed: October 23, 2006




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